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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW MEXICO

MARC GRANO as personal representative        §
of the WRONGFUL DEATH ESTATE                 §
OF JONATHAN ANDREW GARCIA                    §
and a Next Friend to J.O.G., A.S.R., An.J.G  §
and Ar.J.G                                   §
                                             §
                        Plaintiff,           §
                                             §
v.                                           §    Case No. 1:20-cv-00147-PJK-KK
                                             §
STATE OF NEW MEXICO, GREGG                   §
MARCANTEL, New Mexico Secretary of           §
Corrections, DAVID JABLONSKI, New            §
Mexico Secretary of Corrections,             §
CLARENCE OLIVAS, Deputy Warden               §
Of Penitentiary of New Mexico, BRIAN         §
LUCERO, Corrections Officer, FNU             §
MARTINEZ, Corrections Officer, FNU           §
BACA, Captain, Corrections Officer, FNU §
WELLS, Sergeant, Corrections Officer, and §
JOHN DOES 1 through 5, employees,            §
staff, agents of Penitentiary of New Mexico, §
                                             §
                            Defendants.      §

                DEFENDANTS’ PETITION FOR ATTORNEY’S FEES

       COME NOW, Defendants State of New Mexico, Gregg Marcantel, New Mexico

Secretary of Corrections; David Jablonski, New Mexico Secretary of Corrections;

Clarence Olivas, Deputy Warden of Penitentiary of New Mexico; Brian Lucero,

Corrections Officers; FNU Martinez, Corrections Officer; FNU Baca, Corrections Officer;

FNU Wells, Sgt. Corrections Officer; and John Does 1 through 5, employees, staff, agents

of Penitentiary of New Mexico, by and through its counsel of record, Garcia Law Group,

LLC (Bryan C. Garcia, Meghan S. Nicholson, and Rodney L. Gabaldon) and pursuant to

Rule 37(a)(5)(A) FRCP hereby submits its Petition for Attorney fees, and in support of

which states:
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1. Plaintiff filed suit in this Court on February 20, 2020, alleging constitutional

   violations by Defendants. See Doc. 3.

2. After granting several extensions to the discovery deadlines in this matter, the Court

   informed the parties no further extensions would be granted. See Docs. 46, 70, 82,

   91.

3. Defendants filed a Motion to Compel regarding several deficiencies in Plaintiff’s

   discovery responses on March 8, 2022. See Doc. 102. The Motion addressed: 1)

   Plaintiff’s failure to verify or file a certificate of service for his responses to the first

   set of discovery requests, 2) Plaintiff’s failure to respond whatsoever to Defendants

   Second Set of Discovery Requests, sent on December 17, 2021 [Doc. 87], 3)

   Plaintiff’s failure to supply dates of availability for several fact witnesses related to

   the Decedent, and 4) Plaintiff’s failure to supply dates of availability for his two

   disclosed expert witnesses. Id.

4. Plaintiff’s counsel requested an extension to the deadline to respond to Defendants’

   Motion to Compel, which was granted. See Doc. 105. The extension permitted

   Plaintiff to file his Response no later than March 25, 2022. Id.

5. Plaintiff did not file a Response to the Motion to Compel.

6. On April 12, 2022, the Court held a hearing on Plaintiff’s and Defendants’ respective

   Motions to Compel.

7. The Court granted Defendants’ Motion to Compel arguments 1, 2, and 4, granting

   everything requested except for dates of availability for the fact witnesses, as fact

   witness discovery has closed. See Doc 119. The Order granting the Defendants’

   Motion also instructed Defendants to submit this Fee Petition, with a reduction for

   the portion of the motion regarding the fact witnesses depositions. Id.

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8. Attached as Exhibit 1 to this filing is the Attorney Fee Affidavit showing a

   breakdown of Defense counsel’s hours on the tasks necessary to complete the Motion

   to Compel, excluding the time spent on the request for the fact witnesses depositions.

9. Therefore, pursuant to the Order granting their Motion to Compel and Rule

   37(a)(5)(A) FRCP, Defendants’ attorneys are requesting a fee of $658.12 plus gross

   receipts tax at a rate of 7.875%, amounting to $51.83, for a final total of $709.95.

10. Defendants are willing to defer payment of these fees until the resolution of this

   matter.

                                                 Respectfully submitted:

                                                 GARCIA LAW GROUP, LLC

                                                 /s/ Rodney Gabaldon
                                                 MEGHAN S. NICHOLSON
                                                 RODNEY L. GABALDON
                                                 BRYAN C. GARCIA
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                               CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that on the 22nd day of April, 2022, a true and
correct copy of the foregoing was electronically filed with the Clerk of the Court using
CM/ECF system and has been served on Plaintiff, pursuant to Federal Rules of Civil
Procedure as follows:


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BY: //s// Rodney Gabaldón
Rodney Gabaldón




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